        Case 1:03-cr-00161-CCC Document 160 Filed 02/13/18 Page 1 of 1




                IN THE UNITED STATES DISTRICT COURT
              FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA                    :   CRIMINAL NO. 1:03-CR-0161
         v.                                 :   (Chief Judge Conner)
                                            :
DERRICK H. BELL,                            :
                                            :
                    Defendant               :

                                        ORDER

      AND NOW, this 13th day of February, 2018, following the final supervised

release hearing held on this date, and upon agreement of counsel and the U.S.

Probation Officer, it is hereby ORDERED that defendant’s previously imposed

conditions of supervised release, as set forth in the original judgment of conviction

(Doc. 87) are MODIFIED to extend the current term of supervised release by

fourteen (14) months from today’s date, and to impose the following additional

conditions of supervised release:

      1.     The defendant shall undergo a substance abuse evaluation and, if
             recommended, the defendant shall satisfactorily complete a program
             of outpatient or inpatient substance abuse treatment.

      2.     The defendant shall undergo a mental health evaluation and, if
             recommended, the defendant shall satisfactorily complete mental
             health treatment.

      It is further ORDERED that all previously set general conditions of

supervised release shall remain in full force and effect as originally set forth in the

original judgment (Doc. 87).

                                            S/CHRISTOPHER C. CONNER
                                            Christopher C. Conner, Chief Judge
                                            United States District Court
                                            Middle District of Pennsylvania
